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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                 )
                                                                 )
    In re:                                                       ) Chapter 7
                                                                 )
    ALEXANDER E. JONES,                                          ) Case No. 22-33553 (CML)
                                                                 )
                            Debtor.                              ) Re: Docket No. 1131
                                                                 )

              JOINT OBJECTION OF THE SANDY HOOK FAMILIES
      TO ALEXANDER E. JONES’S MOTION FOR RECONSIDERATION OF THIS
    COURT’S DETERMINATION THAT NO AUCTION OF FREE SPEECH SYSTEMS’S
        ASSETS WILL BE CONDUCTED BY THE JONES CHAPTER 7 ESTATE

             The Connecticut Families 1 and the Texas Families 2 (the “Sandy Hook Families”), as

creditors and parties in interest in the above-captioned case, file this opposition in response to the

Motion for Reconsideration of This Court’s Determination that No Auction of Free Speech Systems

Assets Will Be Conducted by the Jones Chapter 7 Estrate [sic] [Docket No. 1131] (the “Motion”),

filed by Alexander E. Jones (“Jones”).

             The Motion seeks relief that this Court has denied multiple times. As the Court explained

in its recent Order Denying FUAC’s Motion Seeking Leave to File a Motion Approving the Sale

of FSS Assets and Request for Status Conference (the “FUAC Order”): “This Court said at a

hearing on February 6, 2025 that it would not allow a sale of FSS assets, and that parties should

consider the Court’s supplemental order null and void for the reasons stated at the hearing.

Nothing has changed.” [Docket No. 1121] Once again, nothing has changed. Jones points to no


1
 The “Connecticut Families” are Mark Barden, Jacqueline Barden, Francine Wheeler, David Wheeler, Ian Hockley,
Nicole Hockley, Jennifer Hensel, William Aldenberg, William Sherlach, Carlos M. Soto, Donna Soto, Jillian Soto-
Marino, Carlee Soto Parisi, Robert Parker, and Erica Ash.
2
 The “Texas Families” are Neil Heslin, Scarlett Lewis, Leonard Pozner, Veronique De La Rosa, and the Estate of
Marcel Fontaine.
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developments that warrant reconsidering this Court’s decision that it will not hold an auction of

the assets of Free Speech Systems (“FSS”). Nor does Jones demonstrate (as he must) that there

are extraordinary circumstances to justify relieving him from an order concerning FSS’s assets.

The fact remains that three years have passed since FSS and Jones first filed for bankruptcy, the

Sandy Hook Families have not yet received a dollar from Jones or FSS, and FSS’s bankruptcy has

been dismissed. 3 The Sandy Hook Families, working together, intend to shortly begin pursuing

remedies against FSS in state court, as this Court instructed when it held that it would not authorize

a sale of FSS’s assets. Jones’s apparent preference to liquidate FSS’s assets in this Court, rather

than state court, is not grounds for reconsideration. The Motion thus fails because Jones has not

identified any “extraordinary circumstances” meriting reconsideration. See infra § I.

        Even if Jones had articulated a reason to reconsider this Court’s prior rulings, he has not

provided a reason to change them. Jones’s Motion is built on two faulty premises, one that was

not true when the Motion was filed and another that is not true today. First, Jones’s request to

“enforce” the Order Supplementing Order Dismissing Case 4 to require the Trustee to conduct an

auction assumes that the Supplemental Dismissal Order required that result in the first place. That

is incorrect. See infra § II. Second, Jones argues that because the Texas Families’ appeal of the

Supplemental Dismissal Order was pending, the Court could not and cannot vacate or modify the

Supplemental Dismissal Order to remove a non-existent auction requirement. But the Texas

Families have now voluntarily dismissed their appeal (and such appeal has been terminated by the

District Court), so this argument—which was wrong anyway—is now moot. See infra § III. And




3
  See Joint Objection of the Sandy Hook Families to FUAC’s Motion Requesting Leave to File a Motion Approving
the Sale of FSS Assets and Request for a Status Conference [Docket No. 1113].
4
  In re Free Speech Systems, LLC, Case No. 22-60043 (Bankr. S.D. Tex. Sept. 25, 2024) [Docket No. 1021] (the
“Supplemental Dismissal Order’).


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in any event, Jones lacks standing to seek relief regarding assets that neither he nor his estate

own. See infra § IV.

           Besides being wrong on the law, the Motion is wrong on the facts. It is replete with factual

claims (many without citations) that are not true. Those assertions are, in any event, irrelevant to

the disposition of the Motion, and therefore the Sandy Hook Families will not burden the Court

with a response to each of the false claims.                    The Sandy Hook Families dispute Jones’s

misrepresentation of the facts asserted in the Motion.

           The Motion should be denied.

I.         JONES HAS NOT IDENTIFIED ANY “EXTRAORDINARY CIRCUMSTANCES”
           TO WARRANT RECONSIDERATION UNDER FEDERAL RULE OF CIVIL
           PROCEDURE 60(b)(6).

           Jones’s Motion asks this Court to order a sale of FSS’s assets. Mot. at 4–5, 9. The Court

has already considered and denied this relief at least twice. Jones’s disagreement with the Court’s

prior rulings does not constitute an “extraordinary circumstance” meriting relief under Rule

60(b)(6), and his Motion should be denied.

           The Court has repeatedly made clear that it will not permit a sale of FSS’s assets. See, e.g.,

Feb. 5, 2025 Hr’g Tr. at 13:4–5 (“I’m not allowing a sale of the [FSS] assets.”); id. at 14:13–16

(regarding the auction of FSS assets: “we’re not doing that anymore”). In February, First United

American Company (“FUAC”) asked the Court to reconsider and order the Trustee to auction

FSS’s assets. [Docket No. 1089] The Court denied FUAC’s reconsideration motion 5 in March,

explaining that it had ruled one month earlier that “it would not allow a sale of FSS assets” and

that “[n]othing has changed.” FUAC Order at 1.




5
    Jones’s present motion refers to the FUAC motion as one for “reconsideration.” Mot. at 3 n.1.


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       Jones now seeks reconsideration of the Court’s order denying reconsideration of its earlier

decision to not conduct a sale of FSS’s assets in the Bankruptcy Court. He moves under FRCP

60(b)(6), a provision “reserved for ‘exceptional’ or ‘extraordinary circumstances,’” see In re

Tubwell, No. 19-12163-JDW, 2019 WL 6481968, at *2 (Bankr. N.D. Miss. Dec. 2, 2019), and

granted only to prevent “manifest injustice,” In re Strudel Holdings LLC, 656 B.R. 404, 409

(Bankr. S.D. Tex. 2024). See also Diaz v. Stephens, 731 F.3d 370, 374 (5th Cir. 2013) (Rule

60(b)(6) requires a showing of “‘extraordinary circumstances’ justifying the reopening of a final

judgment”); Mot. at 10 (acknowledging that Rule 60(b)(6) requires “extraordinary circumstances”

and “injustice”).

       These circumstances are not “exceptional” or “extraordinary.” Jones is simply seeking the

same relief the Court denied twice in the last four months. But again, “[n]othing has changed.”

FUAC Order at 1. Jones’s Motion concedes this point, arguing that reconsideration is appropriate

not because of newly uncovered facts or a change in law, but because the Motion “raises issues

not considered by this Court, or at least not expressed in the record of its ruling” denying FUAC’s

motion. Mot. at 2.

       The fact that Jones has thought of new arguments is not an “exceptional” or “extraordinary”

circumstance warranting reconsideration. Courts routinely deny motions under Rule 60(b)(6)

where, as here, a movant simply argues that a prior decision was wrong. See, e.g., Trottie v.

Stephens, No. 4:09-0435, 2014 WL 4354445, at *3 (S.D. Tex. Sept. 2, 2014) (denying Rule

60(b)(6) motion where movant “points to no newly discovered evidence or change in controlling

law, but simply contends that this Court, and by implication, the Fifth Circuit, got it wrong”);

Pringle v. United States, No. 3:15-cv-1455-L-BN, 2018 WL 7021481, at *2 (N.D. Tex. Dec. 18,

2018), report and recommendation adopted, 2019 WL 184148 (N.D. Tex. Jan. 14, 2019) (denying



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Rule 60(b)(6) motion in part because “Pringle cites no change in the controlling law between the

denial of the Rule 60(b) motion and now, and he offers no newly discovered evidence that was

previously unavailable”). Rule 60(b)(6) cannot “be used as a substitute for appeal.” Trottie, 2014

WL 4354445, at *3 (quoting Diaz, 731 F.3d at 377). The Motion should be denied for failing to

meet the exacting standard of Rule 60(b)(6).

II.      JONES CANNOT “ENFORCE” THE SUPPLEMENTAL DISMISSAL ORDER
         TO FORCE A SALE THAT THE ORDER NEVER REQUIRED.

         Jones’s Motion seeks “[r]econsideration of the status of the ‘Supplemental Order’ of this

Court [FSS Dkt. 1021, September 25, 2024], that has twice previously been the basis of the

Trustee’s proposed auction of the FSS assets.”           Mot. at 2.     Specifically, Jones seeks

“Reconsideration of This Court’s Determination That No Auction of Free Speech Systems Will

Be Conducted By the Jones Chapter 7 Estate” and argues that “this Court should order the auction

of the assets covered by the Supplemental Dismissal Order.” Id. at 1, 33. In doing so, he claims

that “this Court may implement and enforce the Supplemental Order, which is the relief sought by

this Motion.” Id. at 4; id. at 16 (“enforcement of the Supplemental Order is what this Motion

seeks”). Setting aside that this Court has explicitly denied this relief at least twice, Jones’s

argument misses the mark because the Supplemental Dismissal Order never provided the relief he

seeks.

         The Supplemental Dismissal Order provides that “all property of Debtor Free Speech

Systems, LLC (‘FSS’) shall be deemed to have vested in the bankruptcy estate of Alexander E.

Jones, Case No. 22-33553, as property of that estate pursuant to Section 541 and shall be under

the control of the trustee of such estate (‘Chapter 7 Trustee’).” It also provides that the “Chapter

7 Trustee is authorized to operate the business of FSS pursuant to Section 721 for a period not to

exceed one year, absent further order of this Court.” Nothing in the text of the one-page order


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requires that the Trustee auction or sell FSS’s assets. The Supplemental Dismissal Order doesn’t

even contain the words “auction,” “sell,” or “sale.” Since the Supplemental Dismissal Order never

required the Trustee to hold an auction, Jones cannot “enforce” the order to compel one nor did

the Court err in declining to require one.

III.       THE COURT HAS JURISDICTION TO VACATE OR MODIFY THE
           SUPPLEMENTAL DISMISSAL ORDER.

           Jones’s next argument—that this Court could not and cannot declare the Supplemental

Dismissal Order “null and void”—is equally meritless. Jones argues that because the Texas

Families appealed the Supplemental Dismissal Order in the FSS bankruptcy, the Court must hold

an auction of FSS’s assets in the Jones bankruptcy. Mot. at 3. This argument is both wrong and

moot.

           This argument is wrong because, again, the Supplemental Dismissal Order never required

the relief Jones seeks. See supra § II. So even assuming for argument’s sake that the Court had

to “enforce” the FSS Supplemental Dismissal Order during the appeal, that wouldn’t require the

Court to compel the Jones Chapter 7 Trustee to hold an auction in the Jones chapter 7 case.

           In any event, Jones’s argument is now moot. On May 6, 2025, the Texas Families and the

Jones Chapter 7 Trustee voluntarily stipulated to dismiss the appeal under FRBP 8023. 6 Then on

May 16, 2025, the District Court terminated the appeal. To the extent the Texas Families’ appeal

was a barrier to this Court’s interpretation and modification of the Supplemental Dismissal Order,

that barrier since has been removed.




6
    In re Free Speech Systems, LLC, Case No. 4 :24-CV-03882 (S.D. Tex. May 6, 2025) [Docket No. 22].


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IV.    JONES DOES NOT HAVE STANDING TO DEMAND THAT THE COURT
       AUCTION FSS’S ASSETS.

       A.      Jones Has No Pecuniary Interest in FSS’s Assets, and His Arguments Based
               on Highly Unlikely Appellate Victories or Deprivation of “Fundamental
               Constitutional Rights” Are Meritless.

       Jones, a chapter 7 debtor, can demonstrate standing to challenge an order only by showing

that he was directly or adversely affected pecuniarily by the order, or that the order diminished his

property, increased his burdens, or impaired his rights. See In re Solomon, Nos. 96-11201, 96-

11528, 96-11529, 1997 WL 680934, at *6 n.10 (5th Cir. Sept. 25, 1997); see also In re Cyrus II

P’ship, 358 B.R. 311, 315 (Bankr. S.D. Tex. 2007) (Isgur, J.). Here, Jones lacks standing under

the Bankruptcy Code to force a sale of FSS’s assets because he has no pecuniary interest in those

assets. Given the size of the Sandy Hook Families’ claims against the estate—based on $1.3 billion

of combined judgments against Jones, of which $974 million has been found nondischargeable by

the Court—there is no reasonable prospect of any surplus in the estate.

       Jones nonetheless insists he has standing because he “is continuing his appeals of the

Plaintiffs [sic] judgments, the reversal in whole or in any substantial part, will likely render Jones

Estate solvent.” Mot. at 2; see also id. at 18–19 (arguing that plaintiffs’ judgments are “very likely

to be radically reduced if not eliminated on appeal”). This argument has no basis in reality.

       Jones and FSS’s direct appeals of Plaintiffs’ state court judgments have repeatedly been

denied. See, e.g., Lafferty v. Jones, 327 A.3d 941, 981 (Conn. App. Ct. 2024) (affirming $965

million compensatory damages award in favor of Connecticut families).               Last month, the

Connecticut Supreme Court denied Jones’s and FSS’s petition to appeal the Connecticut judgment

to the state’s highest court. Lafferty v. Jones, PSC-240253, Order on Petition for Certification to

Appeal (Conn. Apr. 8, 2025). And just last week, a Connecticut appellate court rejected the

argument that Jones and FSS were likely to succeed in their petition for U.S. Supreme Court


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review, and denied their motion to stay enforcement of the Connecticut judgment pending their

petition for a writ of certiorari. Lafferty v. Jones, AC46131, Order on Motion to Stay (Conn. App.

Ct. May 13, 2025). Jones may continue to pursue all appeals to which he is legally entitled, but

this Court need not indulge the fantasy that his increasingly longshot appeals are “very likely” to

succeed. Given the magnitude of the judgments and the limited resources of Jones’s chapter 7

estate, Jones’s appeals would have to be successful on nearly every single judgment in both

Connecticut and Texas for there to be any prospect of a surplus in the chapter 7 estate. Jones has

no pecuniary interest in FSS’s assets, is not “very likely” to have such an interest in the future, and

lacks standing to pursue the relief sought in his Motion. 7

         Jones also argues that he has standing to seek the instant relief because he is “potentially

concerned with, or affected by, a proceeding.” Mot. at 12. But he draws that language from a

recent Supreme Court opinion in Truck Insurance Exchange v. Kaiser Gypsum Co., Inc., in which

the Court provided a general, plain-language definition of a “party in interest”; it did not change

the law to convey blanket standing under the Bankruptcy Code on anyone “potentially concerned

with” a proceeding. 602 U.S. 268, 278 (2024). Indeed, Kaiser Gypsum Co. dealt with the standing

of an insurer with responsibility for bankruptcy claims in a chapter 11 proceeding—a party with a

clear pecuniary interest in certain claims—and not the standing of a chapter 7 debtor, for which

standing still requires the reasonable possibility of a distribution from a surplus in the estate. See,

e.g., In re Okorie, No. 24-60255, 2024 WL 4471734, at *2 (5th Cir. Oct. 11, 2024); see also In re

Ghatanfard, 666 B.R. 14, 21-22 (S.D.N.Y. 2024).




7
  Jones cites certain cases for the proposition that a chapter 7 debtor may have standing to make a claim objection,
where there is a reasonable possibility of surplus in the estate. Mot. at 11 n.14. But those cases do not stand for the
proposition that Jones has standing to seek the relief he requests here: to compel an auction of FSS assets. And, for
the reasons discussed, there is no “reasonable possibility” of surplus in the estate.


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       Finally, Jones argues that he has standing because the Court’s refusal to order a sale of

FSS’s assets somehow impacts his “fundamental constitutional rights.” Mot. at 12–14. But the

cases he cites do not stand for this proposition; none concern standing for chapter 7 debtors, or

even involved bankruptcy proceedings. See Pennzoil Co. v. Texaco, Inc., 481 U.S. 1 (1987); Henry

v. First Nat. Bank of Clarksdale, 595 F.2d 291 (5th Cir. 1979).             In any event, Jones’s

“constitutional rights” argument is simply a repackaging of his improper collateral attacks on

Plaintiffs’ judgments, which the Court has repeatedly held are not appropriately raised in these

bankruptcy proceedings.     See Memorandum Decision on Connecticut Plaintiffs’ Motion for

Summary Judgment Against Jones, Adv. Proc. 23-03037 (Bankr. S.D. Tex. Mar. 20, 2025) [Docket

No. 76 at 12] (stating that Jones should raise “his constitutional arguments with the appropriate

state appellate forum” and that those constitutional arguments are “not, however, a basis for this

Court to ignore the plain language of the state court’s default judgment or the damages awards”);

Order Denying Reconsideration, Adv. Proc. 23-03037 (Bankr. S.D. Tex. Mar. 20, 2025) [Docket

No. 132 at 2] (“Jones appears to want a second bite at the apple using, in part, constitutional

arguments he did not raise in the underlying Connecticut trial.         The motion is denied.”);

Memorandum Decision on Texas Plaintiffs’ Motion for Summary Judgment Against Jones, Adv.

Proc. 23-03035 (Bankr. S.D. Tex. Oct. 19, 2023) [Docket No. 46 at 18 n.58] (“Again, the Court

declines to consider Jones’s arguments about the constitutionality of the judgments. . . . [T]his

Court will give full faith and credit to the state court default judgment orders and related jury

awards.”). The Court should once again reject this collateral attack.

       B.      Jones Lacks Standing To Request The Relief He Seeks Regarding Assets He
               Does Not Own.

       Even if Jones had standing to seek reconsideration of an order concerning someone else’s

assets (which he does not), Jones’s Motion fails for two more reasons. First, Jones’s estate doesn’t


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own FSS’s assets. Second, FSS is no longer a debtor, so this Court lacks jurisdiction over FSS’s

property.

       First, Jones’s estate does not own FSS’s assets. “Even where, as here, one hundred percent

of a subsidiary’s stock is owned by the shareholder in question, that shareholder has not acquired

and has no property interest in, specific assets of the subsidiary.” In re Murchison, 54 B.R. 721,

728 (N.D. Tex. 1985). That is because Texas courts have long recognized corporate separateness.

See, e.g., Durham v. Accardi, 587 S.W.3d 179, 184 (Tex. Ct. App. 2019) (“A corporation is

presumed to be a separate entity from its officers and shareholders.”); Penhollow Custom Homes,

LLC v. Kim, 320 S.W.3d 366, 373 (Tex. Ct. App. 2010) (“[M]ere control and ownership of all the

stock of a corporation is not a sufficient basis for ignoring the corporate fiction”). Applying this

principle, courts across the country have consistently held that where an individual debtor is a

shareholder in a company, only the debtor’s shares—and not the company’s underlying assets—

are property of the estate. See, e.g., In re Young, 409 B.R. 508, 513 (Bankr. D. Idaho 2009) (“It is

well accepted that a filing by an individual who is an owner of a corporation brings into the estate

only his ownership interest and not the assets of the corporation.”); In re Crabtree, 554 B.R. 174,

192 (Bankr. D. Minn. 2016) (“As a general matter, property of the estate does not include assets

owned by a corporation in which the debtor holds an interest”), rev’d on other grounds, 562 B.R.

579 (8th Cir. BAP 2017); In re Albert, No. 1:14-ap-01134-MB, 2018 WL 1605170, at *12 (Bankr.

C.D. Cal. Mar. 29, 2018) (“The Assets of HSI never became assets of Albert’s bankruptcy estate,

only her stock in HSI became property of her bankruptcy estate.”); In re McCurnin, 590 B.R. 729,

742 (Bankr. E.D. Va. 2018) (holding that the assets of a corporation did not belong to the estate of

individual shareholders); In re Cassis, 220 B.R. 979, 983 (Bankr. N.D. Iowa 1998) (“Ownership

of stock in a corporation does not mean that the corporation is property of the estate . . . Technical,



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legal distinctions between corporations and shareholders will be respected in bankruptcy.”).

Indeed, a leading treatise explains that “while the individual’s interest in the partnership or

corporation (which could be a 100 percent interest) would be property of the estate, the assets of

the partnership or corporation itself would not be.” 2 Collier on Bankruptcy ¶ 103.03[3] (16th ed.

2018).

         Were the law otherwise, it would have been unnecessary for the Court to declare—in a

since-withdrawn order—that “all property of the estate of Debtor [FSS] shall be deemed to have

vested in the bankruptcy estate of Alexander E. Jones[.]” Supplemental Dismissal Order, ¶ 1. That

declaration is now null and void, as the Court has said on multiple occasions. FUAC Order at 1;

Feb. 5 Tr. at 14:13-16. Neither Jones nor his estate owns FSS’s assets, and so he cannot ask this

Court to hold an auction of those assets.

         Second, FSS is not a debtor, and so its property is no longer subject to this Court’s

jurisdiction. A “bankruptcy court does not have supplementary jurisdiction over claims against

defendants who are not bankruptcy debtors.” Long v. Williams (In re Williams), Adv. No. 09-

3163, 2009 WL 3297244, at *1 (Bankr. S.D. Tex. Oct. 13, 2009); see also Cataldi v. Olo Corp. of

N.J. (In re Cnty. Seat Stores, Inc.), No. 3:07-cv-0774-B, 2007 WL 4191946, at *5 (Bankr. N.D.

Tex. June 21, 2007) (“[T]he bankruptcy court has no jurisdiction over a matter that does not affect

the debtor.” (quoting In re Zale Corp., 62 F.3d 746, 753 (5th Cir. 1995)). This Court has ruled

that the FSS estate no longer exists and this Court lacks authority to, for example, allow claims

against FSS. Feb. 5 Tr. at 11:20–21 (there is no FSS “bankruptcy estate to allow claims against.”);

see also Feb. 5 Tr. at 11:17–20 (“The 9019 now wants me to allow claims against FSS. . . and I

can’t do that. Because there’s no estate.”); Feb. 5 Tr. at 12:23–25 (stating, about allowing a claim

against FSS, the Court “can’t do that. I cannot do that. I don’t have authority to do that.”).



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       For the same reasons, Jones can’t demand an auction of things his estate doesn’t own. See

In re Mirant Corp., 389 B.R. 481, 493 (Bankr. N.D. Tex. 2008) (“Only that which came into the

estate might be sold from the estate.”).

       The Motion should be denied.


 Dated: May 19, 2025

 Respectfully submitted,

  /s/ Jennifer J. Hardy                                 /s/ Ryan E. Chapple
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                                CERTIFICATE OF COUNSEL

       Pursuant to Local Rule 9013-1(g)(1), counsel for the Connecticut Families reached out on

behalf of the Sandy Hook Families regarding the concerns raised by this objection to counsel for

Jones on May 12, 2025. Counsel for Jones did not respond to an offer to meet and confer and the

parties have not yet resolved the issues discussed in this objection.


                                                         /s/ Jennifer J. Hardy
                                                         Jennifer J. Hardy




                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing objection has been served on

counsel for Jones and all parties receiving or entitled to notice through CM/ECF on this 19th day

of May, 2025.



                                                         /s/ Jennifer J. Hardy
                                                         Jennifer J. Hardy




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